                                UNITED STATES DISTRICT COURT
                                                                                                            Aug 28, 2023
                                              EASTERN DISTRICT OF WISCONSIN                                s/ D. Olszewski
In the Matter of the Seizure of
(Address or brief description of property or premises to be seized)


UP TO 489,269.52 TETHER (USDT) CRYPTOCURRENCY ON                      Case Number:           23       MJ       160
DEPOSIT IN THE KRAKEN USER ID AA27 N84G RDV7 WHDA
HELD IN THE NAME OF OSL SG PTE LTD

                                        APPLICATION FOR A WARRANT
                                 TO SEIZE PROPERTY SUBJECT TO FORFEITURE

I, Nicholas Schlereth, being duly sworn depose and say:

I am a Special Agent with the United States Secret Service and have reason to believe that in the
Northern District of California there is now certain property, namely, up to 489,269.52 Tether
(USDT) cryptocurrency on deposit in the Kraken User ID AA27 N84G RDV7 WHDA held in the
name of OSL SG PTE LTD, that is (1) civilly forfeitable under 18 U.S.C. §§ 981(a)(1)(C) and
984, including cross-references to 18 U.S.C. §§ 1956(c)(7) and 1961(1), and criminally forfeitable
under 18 U.S.C. § 981(a)(1)(C) in conjunction with 28 U.S.C. § 2461(c), as funds that consist of,
or are traceable to, proceeds of wire fraud committed in violation of 18 U.S.C. § 1343; and
(2) civilly forfeitable under 18 U.S.C. §§ 981(a)(1)(A) and 984, and criminally forfeitable under
18 U.S.C. § 982(a)(1), as funds involved in, or traceable to funds involved in, money laundering
offenses committed in violation of 18 U.S.C. §§ 1956 and 1957, and is therefore also subject to
seizure for purposes of civil forfeiture under 18 U.S.C. § 981(b), and for purposes of criminal
forfeiture under 18 U.S.C. § 982(b)(1) and 21 U.S.C. § 853(f).

The application is based on these facts:

       㾐 Continued on the attached sheet.
       ‫ ٱ‬Delayed notice of ____ days (give exact ending date if more than 30 days:_________ is
requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                      ___________________________
                                                                      Signature of Affiant
Attested to by the applicant in accordance with the                   Nicholas Schlereth, USSS
requirements of Fed. R. Crim. P. 4.1 by telephone
and email.

 8/28/2023 at 12:38 PM                                                at Milwaukee, Wisconsin
Date and time issued                                                  City and State




William E. Duffin, U.S. Magistrate Judge                              ___________________________
Name & Title of Judicial Officer                                      Signature of Judicial Officer
       AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEIZURE WARRANT

       I, Nicholas Schlereth, have been duly sworn on oath, state as follows:

                                     Affiant’s Background

        1.     I am a Special Agent with the United States Secret Service (“USSS”). I have been
so employed since 2021. I am a member of the USSS’s Cyber Fraud Task Force. As part of my
duties as a USSS Special Agent, I investigate violations related to mail, wire and bank fraud, as
well as identity theft. I have received training in conducting criminal investigations, including
physical and electronic surveillance, interviewing witnesses, and executing search and seizure
warrants.

        2.      I have received over 1,200 hours of training in network intrusion response, money
laundering and asset forfeiture, and cryptocurrency investigations offered through the Federal Law
Enforcement Training Center and the United States Secret Service. I have received advanced
training in for cryptocurrency related investigations and am the subject matter expert (SME) for
cryptocurrency in the Chicago Field Office. I perform investigations involving both domestic and
international subjects that utilize electronic devices and the financial infrastructure in the
furtherance of criminal violations.

                                 Property Sought to be Seized

        3.     I submit this affidavit in support of an application for a warrant to seize up to
489,269.52 Tether (USDT) cryptocurrency in the Kraken User ID AA27 N84G RDV7 WHDA
held in the name of OSL SG PTE LTD.

       4.     For the reasons set forth below, I submit that up to 489,269.52 Tether (USDT)
cryptocurrency held in the Kraken User ID AA27 N84G RDV7 WHDA are:

               a.     Funds traceable to, and are therefore proceeds of, a wire fraud offense or
                      offenses committed in violation of 18 U.S.C. § 1343, and therefore are
                      subject to civil forfeiture under 18 U.S.C. §§ 981(a)(1)(C) and 984,
                      including cross-references to 18 U.S.C. §§ 1956(c)(7) and 1961(1), and
                      subject to criminal forfeiture under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.
                      § 2461(c);

               b.     Funds involved in, or traceable to funds involved in, money laundering
                      offenses, committed in violation of 18 U.S.C. §§ 1956 and 1957, and
                      therefore are subject to civil forfeiture under 18 U.S.C. §§ 981 (a)(1)(A) and
                      984, and subject to criminal forfeiture under 18 U.S.C. § 982(a)(1); and

               c.     Subject to seizure via a civil seizure warrant under 18 U.S.C. § 981(b)(2)
                      and via a criminal seizure warrant under 18 U.S.C. § 982(b)(1) and
                      21 U.S.C. § 853(f).
                               Summary of Scheme to Defraud

        5.     There is probable cause to believe that up to $500,000 in proceeds of a wire
fraud/romance scheme, also known as “pig butchering” (see definition below) were involved in
material misrepresentations and the use of cryptocurrency transactions that are a combination of
domestic and international wires in connection with a “pig-butchering” fraud scam have been
deposited, and comingled with other funds, in Kraken User ID AA27 N84G RDV7 WHDA.

       6.      As part of the “pig butchering” fraud scam, an unknown suspect
caused/directed/advised the victim, located within the Eastern District of Wisconsin, to transfer
approximately $432,900 in U.S. currency to a domain name purporting to be the New York Stock
Exchange utilizing cryptocurrency.

                                  Cryptocurrency Definitions
         7.      Kraken: A secure online cryptocurrency exchange where an individual can buy,
sell, transfer and store cryptocurrency whose registration shows that Kraken is located in Malta.
According to the Department of Treasury, Financial Crimes Enforcement Network (“FinCEN”)
Guidance issued on March 18, 2013, virtual currency administrators and exchangers, including an
individual exchanger operating as a business, are considered money service businesses. Such
exchanges and exchangers are required to register with FinCEN and have proper state licenses, if
required under applicable state law.

       8.      Cryptocurrency: A type of virtual currency in a decentralized, peer-to-peer network
medium of value or exchange that may be used as a substitute for fiat currency to buy goods or
services, or exchanged for fiat currency or other cryptocurrencies. Individuals can obtain
cryptocurrency through exchanges and other intermediaries, person-to-person transfers, the sale of
goods or services, or mining. There are thousands of cryptocurrencies including Bitcoin (“BTC”)
and Tether (“USDT”).

        9.      Cryptocurrency Exchange: A business that allows customers to trade
cryptocurrencies or digital currencies for other assets, such as conventional fiat money or other
digital currencies. Exchanges may accept credit card payments, wire transfers or other forms of
payments in exchange for digital currencies or cryptocurrencies.

       10.     Fiat Currency: Coin and paper money of a country that has legal tender.

        11.     Blockchain: Most cryptocurrencies have a “Blockchain,” which is a decentralized,
typically public, transaction ledger containing an immutable and historical record of every
transaction involving the cryptocurrency. Some cryptocurrencies operate on Blockchains that are
not transparent or have built-in, protocols designed to conceal transactional information in the
furtherance of money laundering making it difficult to trace or attribute transactions. Though the
public addresses of those engaging in cryptocurrency transactions are recorded on a blockchain,
the identities of the individuals or entities are not recorded on these public ledgers.

       12.     Blockchain Analysis: The process of inspecting, identifying, clustering, modeling
and visually representing data on a cryptographic, distributed-ledger known as a Blockchain. Data

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in most Blockchains is public, meaning anyone can view the contents. The goal of Blockchain
analysis is discovering useful information about the different actors transacting in cryptocurrency
by using open source and/or subscription analytical tools, such as “Chainalysis” to determine what
transactions were conducted by that individual or entity. Cryptocurrency transactions are
sometimes referred to a “pseudonymous,” meaning that they are partially anonymous.

         13.     Transaction Hash: A unique string of characters that is given to every transaction
that is verified and added to the Blockchain.

        14.    Wallet: A wallet is a software program that interfaces with the Blockchain and
generates and stores public and private keys used to send and receive cryptocurrencies. A wallet
can have one or more cryptocurrency address(es) that are controlled by the same individual or
entity.

        15.     Bitcoin/Cryptocurrency Address: A public address, which is represented as a case-
sensitive string of letters and numbers, is akin to a bank account number, and a private key is a
cryptographic equivalent of a Personal Identification Number (PIN) or password.

        16.     Pig Butchering Scheme/Scam: A pig butchering scheme contains is rooted in an
investment/securities fraud. It can have elements of a romance scam, but the goal is to bleed out
as much money from a victim by leading them to invest in various cryptocurrency domains. The
suspects offer high returns for their investments and direct the victim to custom created websites
that make it appear as if they are investing by showing the victim gains in their investment. When
the victim requests to withdraw fiat currency from the investment portal, they are told they have
to pay a tax. Even after paying the tax, the funds are not released, and the suspects usually come
up with another fee or aspect to get more funds from the victim. The same process continues until
the victim states they are done, which is usually followed by the suspects saying they will invest
their own funds to help the suspect continue the scheme.

       17.     Although cryptocurrencies such as Bitcoin and Tether have legitimate uses,
cryptocurrency is also used by individuals and organizations for criminal purposes such as money
laundering and is often used as payment for illegal goods and services. By maintaining multiple
address and/or wallets, those who use cryptocurrency for illicit purposes can attempt to thwart law
enforcement’s efforts to track transactions.

                                 Statement of Probable Cause
                                  Brookfield, WI Fraud Case

       18.    On or about June 14, 2023, the United States Secret Service, Milwaukee Resident
Office was contacted by an individual having the initials K.Z., who resides at 1XXX Club Cir.,
Apt. XXX, City of Brookfield, Wisconsin, K.Z reported that he was a victim of fraud in the amount
of approximately $433,000.

       19.   K.Z. stated that in late July or early August 2022, he was contacted by a woman
named “Diane Meyer” on Facebook. K.Z. stated that he did not know Meyer prior to her contacting
him on Facebook. After initially developing what K.Z. stated as a “friendship,” Meyer broached

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the idea of trading Bitcoin, claiming it would be a profitable experience. K.Z. resisted the
investment opportunity, which led to Meyer not talking to him for a month.

        20.    In November 2022, Meyer re-engaged K.Z. regarding Bitcoin investments K.Z.
stated he gave in and proceeded with the investment opportunity. After agreeing to participate,
Meyer directed K.Z. to create accounts at the cryptocurrency exchanges Coinbase.com and
Crypto.com. Based on my training and experience, and the investigation to date, I am aware that
Cross River Bank and Metropolitan Commercial Bank are the commercial banks for Coinbase.com
and Crypto.com, respectively. The banks operate “For Benefit Of” accounts for their clients,
enabling clients to wire funds directly to the exchange for the purchase of cryptocurrency.

        21.     Between November 7, 2022 and June 2, 2023, K.Z. sent three (3) wires to Cross
River Bank (Coinbase.com) and nineteen (19) wires to Metropolitan Commercial Bank
(Crypto.com) from his bank account at Landmark Credit Union. The funds sent to Cross River
Bank were sent with the beneficiary code (326997647689) and the funds sent to Metropolitan
Commercial Bank were sent with the beneficiary code (364380200290). The beneficiary codes are
assigned to the specific account holder at the bank, for the inbound funds from a wire to be
allocated to the proper account holder within the exchange. Table 1 includes a breakdown of K.Z.’s
wire transfers to Cross River Bank and Metropolitan Commercial Bank.

Table 1. K.Z Wire Transfers to Cross River Bank & Metropolitan Commercial Bank:

           Date       Amount                           Bank
         11/07/22   $5,000         Metropolitan Commercial Bank
         11/28/22   $19,000        Metropolitan Commercial Bank
         12/02/22   $30,000        Cross River Bank
         12/22/22   $45,000        Cross River Bank
         12/23/22   $42,000        Metropolitan Commercial Bank
         12/30/22   $10,000        Metropolitan Commercial Bank
         01/26/23   $100,000       Cross River Bank
         01/30/23   $250,000       Metropolitan Commercial Bank
                                      • Traced 130,000 USDT from this transaction
         02/08/23   $30,000        Metropolitan Commercial Bank
         02/16/23   $1,000         Metropolitan Commercial Bank
         02/23/23   $15,000        Metropolitan Commercial Bank
         03/02/23   $15,000        Metropolitan Commercial Bank
         03/07/23   $15,000        Metropolitan Commercial Bank
         03/09/23   $15,000        Metropolitan Commercial Bank
         03/13/23   $20,000        Metropolitan Commercial Bank
         03/20/23   $8,000         Metropolitan Commercial Bank
         03/21/23   $2,000         Metropolitan Commercial Bank
         04/10/23   $1,000         Metropolitan Commercial Bank
         05/20/23   $400           Metropolitan Commercial Bank
         05/26/23   $500           Metropolitan Commercial Bank
         06/01/23   $5,000         Metropolitan Commercial Bank
         06/02/23   $5,000         Metropolitan Commercial Bank
                                                4
         TOTAL $633,900.00 Wire Transfers to Crypto Exchanges
         Minus $144,630.48 Withdrawn to K.Z’s Bank Accounts
         TOTAL $489,269.52 Total Fraud Loss Experienced by K.Z.

        22.     After depositing funds into Coinbase.com and Crypto.com, Meyer directed K.Z. to
purchase Tether (USDT) cryptocurrency. K.Z. stated that he believed that he was investing through
the New York Stock Exchange (NYSE) based on guidance from Meyer. After he tried to send
approximately 90,000 USDT using the Coinbase account, K.Z. stated Coinbase.com denied the
transactions from going through due to presumed fraud associated with the account activity. Based
on records provided by K.Z., K.Z. withdrew his funds (approximately $144,149.48) from Coinbase
and only utilized the Crypto.com account. K.Z’s Crypto.com records indicate that he withdrew
(approximately $481.00) from his account on April 16, 2023, all other funds deposited to the
Crypto.com (Metropolitan Commercial Bank) were sent out as USDT or Bitcoin.

       23.     The domain that K.Z. invested through and which purported to be the NYSE was
www.nysefree.com/h5/#/. The domain was reported in numerous other incidents inside the
Consumer Sentinel database as being a fraudulent cryptocurrency investment portal. All reports
describe a similar scheme where once profits were shown in the account and funds were attempted
to be withdrawn, the victims were told they would have to prepay taxes on the investment before
funds could be released.

        24.    The domain www.nysefree.com/h5/#/ was searched in the FBI’s IC3 database.
Numerous results were returned stating the domain was a fraudulent cryptocurrency investment
portal. The reports outlined similar instances where victims were contacted by a woman on
Facebook who discussed cryptocurrency investments. The women recommended investing
through the provided domain. Once the victim sought to withdraw funds, they were told they had
to prepay taxes on the investment or funds would not be released.

        25.    A Domain Name Server (DNS) inquiry was conducted on the domain
www.nysefree.com/h5/#/. The domain was registered on November 5, 2022 by the registrar
company, maff.com. The domain corresponds to IP address 18.230.170.72, and is being hosted on
a server run by Amazon Digital Services in Brazil.

        26.    After seeing success with his investments, K.Z. wanted to withdraw his profits from
the investments. K.Z. was instructed that he would have to prepay his taxes for the investment. He
was told that he would have to pay approximately 180,000 USDT as his taxes. K.Z. did not have
the funds to submit the payment. He periodically would consult the NYSE customer support
feature to inquire about his account to get updates on if his funds were still available. The
subsequent paragraphs outline communications between K.Z. and the NYSE customer support
line.

       27.     On March 10, 2023, K.Z. submitted an inquiry to the purported NYSE customer
support line where he was told “once your payment is complete, the bank escrow account will
automatically release the funds. To avoid affecting your credit and paying more in late fees, please
complete your tax payment within the specified time frame.”


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         28.    On May 21, 2023, The purported NYSE customer support stated that K.Z. would
have to pay his personal income tax of 186,867.903872 USDT. K.Z would have to pay the tax in
cryptocurrency. After paying the tax, he would be able withdraw his proceeds as cash. At the same
point, it was confirmed to him that he had 912,427.0796 USDT deposited into a third-party bank
supervision account, as a holding spot until his tax payment was processed. K.Z. stated he did not
have the funds and would not be able to prepay his taxes on the investment gains.


         29.     On July 17, 2023, K.Z. received a call from Vince Woods, who represented to be
the Head of Finance for NYSE (872-205-9525) and who claimed that he wanted to help K.Z. get
his funds out of the purported NYSE. K.Z. stated that Woods offered to cut his tax payment in half
to facilitate the return of K.Z.’s presumed profits in the NYSE platform. A database search was
conducted on the phone number 872-205-9525 and it returned to Bandwidth.com as a Voice Over
Internet Protocol (VOIP) phone number. Based on my training and experience, and the
investigation to date, case agents believe that the individual who purported to be the NYSE Head
of Finance was attempting to get additional money from K.Z. in exchange for falsely promising to
return the funds that K.Z. believed he invested in the NYSE.

                           Brookfield, WI Cryptocurrency Tracing

        30.     The tracing of cryptocurrency in this case was done using the accounting technique
of Last In, First Out (LIFO). The methodology was applied starting with the initial deposit of the
victim’s cryptocurrency into the initial address. Since the funds were derived in a fraudulent
manner, the assumption was made that the victim’s cryptocurrency upon entry to the initial address
made all other cryptocurrency in that address tainted. LIFO was applied to the tracing of funds in
this case.

        31.     Blockchain analytics tools, like Chainalysis and/or TRM, were utilized to conduct
the tracing in this case. All tracing was validated against the blockchain available in distributed
public registers available via the internet.

        32.    On February 1, 2023, K.Z. sent 139,322 Tether (USDT) to the deposit address
(0x6e051Bd993561D825d5c61A1B120Fd4352646f5d).                K.Z.        stated        the
(0x6e051Bd993561D825d5c61A1B120Fd4352646f5d) address belonged to NYSE and was
directed to him by Meyer.

       33.    The next day, February 2, 2023, the 139,322 Tether (USDT) deposited by K.Z. on
February 1, 2023 to (0x6e051Bd993561D825d5c61A1B120Fd4352646f5d) was comingled with
other USDT in seven (7) other addresses before landing at the address
(0x61B7Fb34a12B7018cD57dfDFa091710f18d32cBa). The address was a deposit address with
Binance cryptocurrency exchange.

       34.   On June 13, 2023, law enforcement sent an information request to Binance to seek
account details and know your customer (KYC) documentation for the address
(0x61B7Fb34a12B7018cD57dfDFa091710f18d32cBa).



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        35.     On June 14, 2023, Binance responded with account details and KYC documentation
for the account. The Binance records confirm the deposit of 137,752 USDT into account #:
162574816 on February 2, 2023 at 06:28 UTC. The account belonged to ANNOP
SOPHITRUNGRUEAR, a Thailand citizen, confirmed through the presence of a Thai National ID
Card attached to the account. Applying LIFO to the account, 60,011 USDT was withdrawn from
the Binance account the same day as the 137,752 USDT deposit, and sent to Tether (as a TRC20
token) to the address (TETbBCB3SZyrVKmqwrXv21CJf6mq2Gg3Rz).

      36.     The Tether sent on February 2, 2023 from the Binance Account belong to
SOPHITRUNGRUEAR, was sent across 22 other addresses before landing in the address
(TWbkrDKpYG14ZhvoP5GjHfJyFyg9pbStjg). The address is a deposit address for an account at
Kraken cryptocurrency exchange.

               Identifying the Kraken account of User ID AA27 N84G RDV7 WHDA

        37.    On June 16, 2023, law enforcement requested information from for the account
associated to the address (TWbkrDKpYG14ZhvoP5GjHfJyFyg9pbStjg) and transaction hash
(397cb2bad8054f449c40c48f9a9dda130fb7b6d6aee8c671ac4678827fe2f06e). Kraken confirmed
that this address is associated with Kraken User ID AA27 N84G RDV7 WHDA.            Kraken
provided the identifiers that are associated with Kraken User ID AA27 N84G RDV7 WHDA.
According to Kraken records, Kraken User ID AA27 N84G RDV7 WHDA is in the name of OSL
SG PTE LTD, whose account was registered on January 12, 2021 utilizing corporate documents
for OSL SG PTE LTD, and a passport for a United Kingdom citizen, Suzanne JENSEN.

       38.     OSL SG PTE LTD is registered with the User ID (detectorforumwords) and the
email address (sgtrader@osl.com). OSL SG PTE LTD is listed at the address, 1 Joo Chiat Road,
#05-1005, Joo Chiat Complex, North East Community Development Region, 420001, Singapore.
The Employee Identification Number provided to Kraken by OSL SG PTE LTD was 201836009D.

       39.   Kraken’s records show the deposit 6,417,000 USDT into the account belonging to
the Kraken User ID AA27 N84G RDV7 WHDA.

                                 Applicable Asset Forfeiture Provisions

        40.     Under 18 U.S.C. § 984, a court may order the forfeiture of funds in a bank account
into which monies subject to forfeiture have been deposited, without the need to trace the funds
currently in the account to the specific deposits that are subject to forfeiture, up to the amount of
the funds subject to forfeiture that have been deposited into the account within the past one-year
period.
         41. Section 984 (a) provides in part:

               (1) In any forfeiture action in rem in which the subject property is cash
               [or] funds deposited in an account in a financial institution




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                      (A) it shall not be necessary for the Government to identify the
                       specific property involved in the offense that is the basis for the
                       forfeiture; and

                      (B) it shall not be a defense that the property involved in such an
                       offense has been removed and replaced by identical property.

               (2) Except as provided in subsection (c), any identical property found in
               the same place or account as the property involved in the offense that is
               the basis for the forfeiture shall be subject to forfeiture under this section.

        42.     18 U.S.C. § 984(b) provides: “No action pursuant to this section to forfeit property
not traceable directly to the offense that is the basis for the forfeiture may be commenced more
than 1 year from the date of the offense.”
        43.     Thus, under Section 984, a court may order the civil forfeiture of monies found in
a bank account into which deposits of criminal proceeds subject to forfeiture had been made, up
to the amount of the forfeitable deposits that have been made into the account within the prior one-
year period, without the need for tracing the funds to be forfeited to any of the specific forfeitable
deposits.
        44.     I submit that a restraining order under 21 U.S.C. § 853(e) may not be sufficient to
assure the availability of the funds for forfeiture because I have been advised of cases in which,
even after restraining order or similar process has been issued to financial institution, the funds
sought to be restrained were not effectively restrained by the financial institution. In my judgment,
a seizure warrant would be the most effective way to assure the availability of the money sought
to be seized for forfeiture.
                                             Conclusion

        45.    Based on the facts and circumstances set forth in this affidavit, I submit that there
exists probable cause to believe that up to 489,269.52 Tether (USDT) cryptocurrency in the
Kraken User ID AA27 N84G RDV7 WHDA held in the name of OSL SG PTE LTD:

               a.      Funds traceable to, and are therefore proceeds of, a wire fraud offense or
                       offenses committed in violation of 18 U.S.C. § 1343, and therefore are
                       subject to civil forfeiture under 18 U.S.C. §§ 981(a)(1)(C) and 984,
                       including cross-references to 18 U.S.C. §§ 1956(c)(7) and 1961(1), and
                       subject to criminal forfeiture under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.
                       § 2461(c);

               b.      Funds involved in, or traceable to funds involved in, money laundering
                       offenses, committed in violation of 18 U.S.C. §§ 1956 and 1957, and
                       therefore are subject to civil forfeiture under 18 U.S.C. §§ 981 (a)(1)(A) and
                       984, and subject to criminal forfeiture under 18 U.S.C. § 982(a)(1); and

               c.      Subject to seizure via a civil seizure warrant under 18 U.S.C. § 981(b)(2)
                       and via a criminal seizure warrant under 18 U.S.C. § 982(b)(1) and
                       21 U.S.C. § 853(f).

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0x46340b20830761efd32832      TJ3Tns51xrCd6q5gQjYMcW    TKowRss2rGetmWuNtzD2Df
  A74d7169B29FEB9758               xWFNHuL6eZic             4csXUJ9G64bY
 Victim Withdrawal from               10,000 USDT               432,507 USDT
   Crypto.com account
                              TAWs2NKTNDjmhdX7mwth      TWgq4G1q36s3fe2PxaYYfo
         139,322 USDT
                                  h4C1rncnfcQDe4            FRFsBpmnfuFQ
0x6e051Bd993561D825d5c6               588 USDT                  49,331 USDT
  1A1B120Fd4352646f5d
                              TWeeJTr4zgVubygG4xdQZZ    TVeyLbroR7vN5Y3GCcGrH
         139,322 USDT
                                  AgD69CUBwYoN              CSybVwYasgpo6
0x587eeF1f295b3462f545c27             20,000 USDT               500,000 USDT
    9c95e82B799Aa3f0e
                              TVd34wtFpLfwaWRiYTve7t    TKowRss2rGetmWuNtzD2Df
         290,000 USDT              Uks5HUrpq4pt             4csXUJ9G64bY
0x1aEeeC03471437b2ef7951              20,231 USDT               139,709 USDT
   9048c4Bc4b6663a493
                              TWVwTmoepx6t4xM8B5tLf     TWgq4G1q36s3fe2PxaYYfo
         760,000 USDT                                       FRFsBpmnfuFQ
                                 nk2qVAfYZhDLg
0x335c8817885842850bc577
                                      41,526 USDT               7,495 USDT
  6F7A4d8D0021fDFb92
                              TG3vpRQDjG8RMc1ypGFZ      TVeyLbroR7vN5Y3GCcGrH
         610,000 USDT
                                  eWrTuquHozSdst            CSybVwYasgpo6
0xF8B190a4D1Bef94979a71
                                      66,890 USDT               891,561 USDT
  7Fb8e04F31592F65e99
                              TMcXwio6pCxkcoC8iPce46u   TRNVngSVASCntcoxkEaB2
         200,000 USDT
                                  MXuUwoBEvMJ              1YFb8jwLunM4R
0x93E254fa0E6AFcb54B827
                                      72,496 USDT               891,471 USDT
  87A270b2c7d44cE0c60
                              TV9ZZHU8ZQhogZ1CNkN1      TXZr6fod6dVpCAa95voefTf
          137,572 USDT
                                  vp31DjGFdaRrKk              J7ni25XPQ9q
0x540346E80b8D7e4c14D5b
                                      81,100 USDT               6,417,000 USDT
  8563AE6695c557cAE30
                              TN1nHC1Zu84YzHaYPoZB      TWbkrDKpYG14ZhvoP5GjH
         137,572 USDT            VxZ2CBvRtrBnHA               fJyFyg9pbStjg
0x61B7Fb34a12B7018cD57d               291,970 USDT      Deposit Address for Kraken
  fDFa091710f18d32cBa                                            Account:
Deposit Address for Binance   TTVXCUvvd44HSsPau3LFy
                                                        AA27 N84G RDV7 WHDA
    Account 162574816             Pjeetm67U7DZk

         59,999 USDT                  1,999,999 USDT

TETbBCB3SZyrVKmqwrXv          TPhGzgVzoDwrFiquyr6L8Xc
    21CJf6mq2Gg3Rz                 Ne89aZpGp74
 Outbound Transfer from               799,999 USDT
Binance Account 162574816
                              TQQdRdcFUz2fXzJHNPR8f
         145,457 USDT            YGxLiPDjAwXVd
TXhFjzK14CdTRvCm1NUN                  14,124 USDT
   dFkppDFiMvSNVD
         31,024 USDT
                            UNITED STATES DISTRICT COURT                                                                     Aug 28, 2023
                                                      for the                                                               s/ D. Olszewski
                                          EASTERN DISTRICT OF WISCONSIN

In the Matter of the Seizure of
         (Address or brief description of property or premises to be seized)


UP TO 489,269.52 TETHER (USDT) CRYPTOCURRENCY ON                                      Case Number:        23           MJ       160
DEPOSIT IN THE KRAKEN USER ID AA27 N84G RDV7 WHDA
HELD IN THE NAME OF OSL SG PTE LTD


                 WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE

TO:      NICHOLAS SCHLERETH, a Special Agent with the United States Secret Service, and
         any Authorized Officer of the United States.

An application by a federal law enforcement officer or an attorney for the government requests that certain
property be seized as being subject to forfeiture to the United States of America. The property is described
as follows:
Up to 489,269.52 Tether (USDT) cryptocurrency on deposit in the Kraken User ID AA27 N84G RDV7 WHDA held
in the name of OSL SG PTE LTD

I find that the affidavit and any recorded testimony establish probable cause to seize the property.

YOU ARE HEREBY COMMANDED to search on or before                                          September 11                          , 2023
                                                                                             (not to exceed 14 days)

       ‫ ٱ‬in the daytime – 6:00 a.m. to 10:00 p.m.                              ‫ٱ‬
                                                                               X at any time in the day or night, as I find
reasonable cause has been established.

Unless delayed notice is authorized below, you must also give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at
the place where the property was taken.

An officer present during the execution of the warrant must prepare, as required by law, an inventory of any property
seized and the officer executing the warrant must promptly return this warrant and a copy of the inventory to United
States Magistrate Judge William E. Duffin.

          ‫ ٱ‬I find that immediate notification may have an adverse result listed in 18 U.S.C. §2705 (except for delay of
trial), and authorize the officer executing this warrant to delay notice to the person, who, or whose property, will be
searched or seized (check the appropriate box)  ‫ ٱ‬for _____ days. (not to exceed 30)
                                                ‫ ٱ‬until, the facts justifying, the later specific date of __________

Date and time issued             8/28         , 2023; 12:38 p.m.
                                                                                             Judge’s signature

City and state: Milwaukee, Wisconsin                                           THE HONORABLE WILLIAM E. DUFFIN
                                                                               United States Magistrate Judge
                                                                               Name & Title of Judicial Officer
$2 5HY :DUUDQWWR6HL]H3URSHUW\ 6XEMHFWWR)RUIHLWXUH 3DJH

                                                                                5HWXUQ
&DVH1R                                        'DWHDQGWLPHZDUUDQWH[HFXWHG              &RS\RIZDUUDQWDQGLQYHQWRU\OHIWZLWK


,QYHQWRU\PDGHLQWKHSUHVHQFHRI


,QYHQWRU\RIWKHSURSHUW\WDNHQ




                                                                              &HUWLILFDWLRQ


   ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQYHQWRU\LVFRUUHFWDQGZDVUHWXUQHGDORQJZLWKWKHRULJLQDOZDUUDQWWRWKH
GHVLJQDWHGMXGJH

'DWH
                                                                                                    Executing officer’s signature



                                                                                                       Printed name and title
